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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                      CASE NO.:

 BRYAN ZACK MASON,

              Plaintiff,

 v.

 SONY PICTURES
 ENTERTAINMENT INC., SONY
 PICTURES TELEVISION INC.,
 NBCUNIVERSAL MEDIA, LLC,
 AND ERIC E. KRIPKE dba KRIPKE
 ENTERPRISES,

              Defendants.


             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                 (INJUNCTIVE RELIEF DEMANDED)

      Plaintiff BRYAN ZACK MASON by and through his undersigned counsel,

brings this Complaint against Defendants SONY PICTURES ENTERTAINMENT

INC., SONY PICTURES TELEVISION INC., NBCUNIVERSAL MEDIA, LLC,

and ERIC E. KRIPKE doing business as KRIPKE ENTERPRISES, for damages

and injunctive relief, and in support thereof states as follows:




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                           SUMMARY OF THE ACTION

      1.      Plaintiff BRYAN ZACK MASON (“Mason”) brings this action for

violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy

and distribute Mason’s original copyrighted works of authorship.

      2.      Mason is a self-published author who has written several successful

books ranging in genre from mystery thrillers to science fiction and fantasy. His

passion for history, language, travel, and literature influence his works of

authorship.

      3.      Beginning in 2011, Mason authored a three-book series known as The

Chronoshift Trilogy.

      4.      On December 14, 2011, Mason published the first book Shift.

      5.      On May 21, 2012, Mason published the second book Chase.

      6.      On July 12, 2012, Mason published the third book Turn.

      7.      Shift, Chase, and Turn comprise The Chronoshift Trilogy.

      8.      The Chronoshift Trilogy was published on Amazon.com and

distributed through Ingram Book Distributors, national book distributor for all

major bookstores.

      9.      The Chronoshift Trilogy is a work of science fiction and fantasy.




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       10.     The plot centers around a team of three people who travel through

time fighting assassins and altering historical events using watch-like time travel

devices.

       11.     The Chronoshift Trilogy sold over 50,000 copies on Amazon.

       12.     Shift, Chase, and Turn each received a 4 out of 5-star rating on

Amazon.

                            JURISDICTION AND VENUE

       13.     This is an action arising under the Copyright Act, 17 U.S.C. § 501.

       14.     This Court has subject matter jurisdiction over these claims pursuant

to 28 U.S.C. §§ 1331, 1338(a) which give district courts original jurisdiction over

copyright matters.

       15.     Defendants are subject to personal jurisdiction in the state of Georgia

pursuant to O.C.G.A. 9-10-91; Defendants conduct business in the state of Georgia

by selling, producing, and promoting films and television series to Georgia

residents.

       16.     NBC operates content studios within the state of Georgia in this

judicial district.

       17.     Sony Entertainment, Sony TV, and Kripke regularly collaborate with

NBC to market their television series and films to residents of Georgia.



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      18.    NBC, Sony Entertainment, Sony TV, and Kripke committed acts that

caused injury to Mason in Georgia.

      19.    NBC, Sony Entertainment, Sony TV, and Kripke have substantial

business in Georgia.

      20.    Jurisdiction over NBC, Sony Entertainment, Sony TV, and Kripke in

this court satisfies due process.

      21.    Venue is proper in this district under 28 U.S.C. §§§ 1391(b), (c) and

1400(a) because the events giving rise to the claims occurred in this district.

                                       DEFENDANTS

      22.    Defendant SONY PICTURES ENTERTAINMENT INC. (“Sony

Entertainment”), a subsidiary of Sony Corporation, is a Delaware Corporation,

with its principal place of business at 10202 West Washington Boulevard, Culver

City, California, 90232, and can be served by serving its Registered Agent,

Leonard Venger, 10202 West Washington Boulevard, JS340D, Culver City,

California, 90232.

      23.    Sony Entertainment is an American entertainment company that

produces, acquires, and distributes filmed entertainment such as theatrical motion

pictures, television programs, and recorded videos, through multiple platforms.

      24.    Defendant SONY PICTURES TELEVISION INC. (“Sony TV”) is a

subsidiary of Sony Entertainment, and is a Delaware Corporation with its principal

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place of business at 10202 West Washington Boulevard, Culver City, California,

90232, and can be served by serving its Registered Agent, Leonard Venger, 10202

West Washington Boulevard, JS340D, Culver City, California, 90232.

      25.     Sony TV is one of the industry’s largest content providers, operating

production companies around the world and managing a vast library of films and

television shows.

      26.     Defendant NBCUNIVERSAL MEDIA, LLC (“NBC”) is a Delaware

Limited Liability Company, with its principal place of business at 30 Rockefeller

Plaza, New York, NY 10112.

      27.     NBC is a wholly owned subsidiary of Comcast, and one of the

world’s largest media and entertainment companies. NBC operates, develops, and

markets entertainment and news.

      28.     ERIC E. KRIPKE (“Kripke”) is an American television writer,

director, and producer who does business as KRIPKE ENTERPRISES. He was the

co-writer and co-producer of Timeless. Kripke resides in the Los Angeles,

California.

                    THE COPYRIGHTED WORKS AT ISSUE
      29.     On November 14, 2014, Mason registered Shift with the Register of

Copyrights and received the registration number TX 8-007-061.



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       30.      On December 20, 2019, Mason registered Chase with the Register of

Copyrights and received the registration number TX 8-828-141.

       31.      On December 20, 2019, Mason registered Turn with the Register of

Copyrights and received the registration number TX 8-829-569.

       32.      At all relevant times, Mason was the owner of the copyrighted Works

at issue.

                    DEFENDANTS’ ACCESS TO THE WORKS
       33.      During development of Timeless, defendants had access to, or were

collaborating with third parties who had access to, Shift, Chase, and Turn.

       34.      On July 18, 2013, a representative of Universal Pictures contacted

Mason requesting permission to use Shift as a set dressing for the movie Endless

Love, a production of NBC.

       35.      Mason granted NBC permission.

       36.      The Endless Love production was filmed from 2013 to 2014 in

Georgia, including in Savannah, Georgia; Fayette County, Georgia; Butts County,

Georgia at Lake Jackson; and at the Atlanta Botanical Garden in Atlanta.

       37.      Physical copies of Shift appear in the Endless Love film at

approximately the one hour and twenty-one minute mark.

       38.      Endless Love was co-produced by production company Fake Empire.



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      39.    Fake Empire produced 34 episodes of the NBC television show

Chuck.

      40.    Fake Empire employed Matt Whitney and Anne Cofell Saunders for

Chuck.

      41.    Whitney was an uncredited writing assistant for two episodes of

Chuck.

      42.    Saunders was a co-producer, producer or writer for 24 episodes of

Chuck.

      43.    During the same time period the Endless Love production was

occurring in the Atlanta area, the pilot episode of the television show Revolution

was filmed in Atlanta, Georgia.

      44.    Anne Cofell Saunders worked as a writer and co-executive producer

of Revolution.

      45.    Revolution was created by Defendant Kripke through his d/b/a Kripke

Enterprises and produced by Defendant NBC.

      46.    During the same time period Endless Love and Revolution were

produced in Atlanta, Georgia,

      47.    Matt Whitney was either the executive story editor, co-producer, or

writer of thirty-four (34) episodes of the television show Gossip Girl that aired in

the fall of 2011 and 2012.

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        48.    Fake Empire productions produced seasons four, five and six of

Gossip Girl, including the seasons Whitney worked on.

        49.    Matt Whitney and Anne Cofell Saunders were also producers and

writers for Timeless.

        50.    Whitney was credited as a supervising producer of 15 episodes of

Timeless.

        51.    Whitney was credited as a co-executive producer of 10 episodes of

Timeless.

        52.    Whitney was credited as a writer of 4 episodes of Timeless.

        53.    Saunders was credited as a co-executive producer of 25 episodes of

Timeless.

        54.    Saunders was credited as a writer of 2 episodes of Timeless.

        55.    Upon information and belief, the co-executive producer of Timeless,

Anne Cofell Saunders, had access to Shift, Chase and Turn as a result of her

connection with Fake Empire Production.

        56.    In early 2014, Mason decided to adapt The Chronoshift Trilogy into a

film.

        57.    Mason hired Joel Wilsford, CEO of Trillium Capital Investments,

LLC, to finance and produce a “feature film” based on the The Chronoshift

Trilogy.

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      58.    On November 17, 2014, Mason hired Adam Bret, CEO of Low Rider

Films, LLC, to use his connections in the greater Los Angeles area to market The

Chronoshift Trilogy.

      59.    Wilsford and Bret pitched The Chronoshift Trilogy to producer Mike

Richardson and supplied him physical copies of Shift, Chase, and Turn.

      60.    Richardson expressed interest in adapting The Chronoshift Trilogy

into a film or television series.

      61.    Richardson was an Executive Producer of the Legend of Tarzan,

released in 2016.

      62.    Defendant Kripke wrote and developed the Tarzan television series,

released in 2003.

      63.    Production for Legend of Tarzan began in 2014.

      64.    The first episode of Timeless was released in 2016.

      65.    Upon information and belief, Richardson consulted with Kripke about

the production of Legend of Tarzan.

      66.    Upon information and belief, Kripke obtained copies of or knowledge

of The Chronoshift Trilogy from Richardson, Whitney, and/or Saunders.

      67.    Plaintiff is informed and believes that discovery will reveal additional

information concerning the defendants’ access to Shift, Chase, and Turn.



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            INFRINGEMENT AND SUBSTANTIAL SIMILARITY
      68.    Defendants have never been licensed to use Shift, Chase, and Turn for

any purpose except as set dressing for the film Endless Love.

      69.    On a date after Shift, Chase, and Turn were published, but prior to the

filing of this action, defendants copied Shift, Chase, and Turn and the protectable

expression contained therein, including but not limited to, the expression of

concepts, ideas, plots, themes, dialogue, mood, setting, pace, and characters

contained therein.

      70.    In Shift, Chase, and Turn a team of three travel through time fighting

assassins and altering historical events.

             a. The main protagonist is a special forces operative.

             b. A supporting protagonist is a female historian.

             c. Another supporting protagonist is an African American male who

                 confronts racism when traveling back in time.

      71.    In Timeless, a team of three travel through time fighting assassins and

altering historical events.

             a. The main protagonist is a special forces operative.

             b. A supporting protagonist is a female historian.

             c. Another supporting protagonist is an African American male who

                 confronts racism when traveling back in time.

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      72.    In Shift, the original group of assassins comprises three people.

      73.    In Season 1, Episode 7 of Timeless, the original group of assassins

comprises of three people.

      74.    On pages 11-12 of Shift, the characters travel through time using a

pewter-gray round metal device that is worn on the wrist like a watch; characters

are able to time travel to any time at will, instantly and without obstacle.

      75.    In Season 1, Episode 1 of Timeless, the characters travel through time

by entering a pewter-gray round metal device that looks like a large watch;

characters are able to time travel to any time at will, instantly and without obstacle.

      76.    On pages 262-263 of Shift, a group of enemy assassins, led by the

main antagonist Rialto, gains the ability to travel through time by stealing a time

travel device from the protagonists.

      77.    In Season 1, Episode 1 of Timeless, a group of enemy assassins

employed by “Rittenhouse” gain the ability to travel through time by a time travel

device stolen from the protagonists.

      78.    In The Chronoshift Trilogy, time travel is managed by a private

company outside the control of the government; the company, called Chronoshift,

is owned by protagonist Mark Carpen (M.C.), a character created by the Plaintiff

whose last name is Mason.



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      79.    In Season 1, Episode 1 of Timeless, time travel is managed by a

private company outside the control of the government; the company, called

Mason Industries, is owned by Connor Mason (C.M.).

      80.    In Shift, the protagonist is emotionally broken over the loss of his

children in a car accident and wants to use time travel to save them.

      81.    In Season 1, Episode 1 of Timeless, the protagonist is emotionally

broken over the loss of his wife in a car accident and wants to use time travel to

save her.

      82.     Throughout The Chronoshift Trilogy, a mysterious force keeps

certain historical events from being altered and certain people from being saved

from death. Some events, like the death of the protagonist’s children, are

unalterable by shifts in time.

      83.    In Season 1, Episode 1, and Season 1, Episode 13 of Timeless, a

mysterious force keeps certain historical events from being altered and certain

people from being saved from death. Some events, like the death of the

protagonist’s wife, are unalterable by shifts in time.

      84.    In The Chronoshift Trilogy, the lead protagonist gets nauseous

following time travel.




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      85.      In Season 1, Episode 1, Season 1, Episode 2, Season 1, Episode 15,

and Season 1, Episode 16 of Timeless, the lead protagonist gets nauseous following

time travel.

      86.      Throughout The Chronoshift Trilogy, the protagonist argues with the

other characters about fate versus free will, and the protagonist is the only one who

refuses to accept fate.

      87.      In Season 1 Episode 1, Season 1, Episode 13, and Season 1, Episode

14 of Timeless, the protagonist argues with the other characters about fate versus

free will, and the protagonist is the only one who refuses to accept fate.

      88.      In The Chronoshift Trilogy, the lead protagonist is firm, passionate,

and has a personality that shows angry tendencies.

      89.      In Timeless, the lead protagonist is firm, passionate, and has a

personality that shows angry tendencies.

      90.      Throughout the The Chronoshift Trilogy, the lead protagonist has no

hesitations about killing bad people before they have committed crimes and says

so.

      91.      In Season 1, Episode 1 of Timeless, the lead protagonist has no

hesitations about killing bad people before they have committed crimes and says

so.



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      92.    In Turn, the lead protagonist interrupts missions for a chance to save

his children but fails.

      93.    In Season 1, Episode 13 of Timeless, the lead protagonist interrupts

missions for a chance to save his wife but fails.

      94.    On page 86-87 of Shift, the lead protagonist travels back in time to kill

the father of his children’s killer but is thwarted by simple, unexpected frustrations.

      95.    In Season 1, Episode 13 of Timeless, the lead protagonist travels back

in time to prevent the parents of his wife’s killer from meeting, but is thwarted by

simple, unexpected frustrations.

      96.    In Chase, the lead protagonist’s girlfriend abandons the team and

switches sides to join the assassins.

      97.    In Season 1, episode 14 of Timeless, a female character working for

Mason Industries abandons the company and switches sides to join the assassins.

      98.    In Shift, the time-travel company establishes a “time-travel armory” in

a warehouse that includes items of historical dress, coins, weapons, etc. from each

period of history.

      99.    In Season 1, Episode 4 of Timeless, the time-travel company

establishes a “time-travel armory” in a warehouse that includes items of historical

dress, coins, weapons, etc. from each period history.



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        100. In Shift and Chase, the team of time travelers develop the ability to

track where their enemies have traveled to through time.

        101. In Season 1, Episode 3 of Timeless, the team of time travelers are

shown to have the ability to track where their competitors have traveled to through

time.

        102. In Shift, the team travels to the depression era in one of the first

missions.

        103. In Season 1, Episode 1 of Timeless, the team travels to the depression

era.

        104. In Shift, the team travels to the assassination of President Lincoln.

        105. In Season 1, Episode 2 of Timeless, the team travels back to the

assassination of President Lincoln.

        106. In The Chronoshift Trilogy, the main assassin is an ex-employee of

the federal government.

        107. In Timeless, the main assassin is an ex-employee of the federal

government.

        108. On pages 218-223 of Shift, the team uses modern explosives to free

women from the Mexican cartels.

        109. In Season 1, Episode 5 of Timeless, the team uses modern explosives

to free women and children from a Mexican warlord.

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      110. In Turn, the team debates whether or not to pre-emptively kill a man

before he commits a heinous crime.

      111. In Season 1, Episode 10 of Timeless, the team debates whether or not

to pre-emptively kill a man before he commits a heinous crime.

      112. In Turn, the lead protagonist and female historian develop a

relationship that becomes a true romance.

      113. In Season 2, Episodes 3 and 4 of Timeless, the lead protagonist and

female historian develop a relationship that becomes a true romance.

      114. In Chase, the lead protagonist has a dream or vision about a village in

1600s Massachusetts that has been destroyed in a fire; shortly thereafter the team

finds themselves in this village.

      115. In Season 1, Episode 16 and throughout Season 2 of Timeless, one of

the protagonists has dreams or visions about destruction they will encounter in the

future while time traveling.

      116. In Shift, the lead protagonist and African American team member

travel to the Civil War era, where the African American pretends to be a slave, and

the lead protagonist pretends to be his owner.

      117. In Season 2, Episode 9 of Timeless, the lead protagonist and African

American team member travel to the Civil War era, where the African American

pretends to be a slave, and the lead protagonist pretends to be his owner.

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         118. In Shift, the assassins capture the lead protagonist’s team and tie them

up during two separate missions involving the Kennedy and Lincoln

assassinations.

         119. In Season 1, Episode 6 of Timeless, the assassins capture the lead

protagonist’s team and tie them up during a mission involving the resignation of

President Nixon; the Lincoln assassination is mentioned.

         120. In Chase, the team encounters a young woman who is surviving on

her own and living in a cabin in the woods during the 1600s; the team brings the

woman from her cabin to their headquarters in modern times.

         121. In Season 1, Episode 12 of Timeless, the team encounters a young

woman who is surviving on her own and living in a cabin in the woods during the

1800s; the team brings the woman from her cabin to their headquarters in modern

times.

         122. In Chase, the lead protagonist comes to the realization that for

everything to work out as it needed to, his children could not be saved from death.

         123. In Season 2, Episode 12 of Timeless, the lead protagonist understands

that for everything to work out as it needed to, he could not save his wife from

death.

         124. In Shift, the African American protagonist is killed by the assassins.



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        125. In Season 2 ,Episode 10 of Timeless, the African American

protagonist is killed by the assassins.

        126. In Turn, the team tries to go back in time to save the life of the

African American protagonist but fail.

        127. In Season 2, Episode 10 of Timeless, the team tries to go back in time

to save the life of the African American protagonist but fail.

        128. On pages 89-94 of Chase, the team makes an uneasy alliance with the

assassins since they are unable to destroy each other.

        129. In Season 1, Episode 16 of Timeless, the team makes an uneasy

alliance with the assassins since they are unable to destroy each other.

        130. On page 140 of Chase, a character named Rufus in introduced.

        131. In Season 1, Episode 1 of Timeless, the African American protagonist

is introduced as Rufus.

        132. On page 44 of Shift, the lead protagonist refuses to see himself in the

past.

        133. In Season 1, Episode 1 of Timeless, one of the team members tells the

lead protagonist he refuses to see himself in the past.

        134. In Shift, a stripper is saved by the protagonist, double crosses him,

joins the assassins, and is held there by extortion.



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      135. In Season 1, Episode 3 of Timeless, a Vegas girl is saved by the

protagonist, double crosses him, joins the assassins, and is held there by extortion.

      136. In Chase, the team locks themselves in their secret headquarters and

lives there until they feel they have escaped the enemy.

      137. In Season 2, Episode 1 of Timeless, the team locks themselves in their

secret headquarters and lives there until they feel they have escaped the enemy.

      138. Timeless is substantially similar to Plaintiff’s copyrighted work.

                                COUNT I
                         COPYRIGHT INFRINGEMENT
      139. Plaintiff incorporates the allegations of paragraphs 1 through 138 of

this Complaint as if fully set forth herein.

      140. Mason owns a valid copyright in the Works at issue in this case.

      141. Mason registered the Works at issue in this case with the Register of

Copyrights pursuant to 17 U.S.C. § 411(a).

      142. Defendants copied, displayed, and distributed the Works at issue in

this case without Mason’s authorization in violation of 17 U.S.C. § 501.

      143. Defendants performed the acts alleged in the course and scope of their

business activities.

      144. Defendants’ acts were willful.

      145. Mason has been damaged.

      146. The harm caused to Mason has been irreparable.
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      147. WHEREFORE, the Plaintiff Bryan Zack Mason prays for judgment

against Defendants Sony Pictures Entertainment Inc., Sony Pictures Television

Inc., NBC Universal Media LLC, and Eric Kripke that:

            a. Defendants and their officers, agents, servants, employees,

                affiliated entities, and all of those in active concert with them be

                preliminarily and permanently enjoined from committing the acts

                alleged herein in violation of 17 U.S.C. § 501;

            b. Defendants be required to pay Plaintiff actual damages and

                Defendant’s profits attributable to infringement, or, at Plaintiff’s

                election, statutory damages as provided in 17 U.S.C. § 504;

            c. Plaintiff be awarded its attorneys’ fees and costs of suit under the

                applicable statutes sued upon;

            d. Defendants be required to account for all profits, income, receipts,

                or other benefits derived by Defendants as a result of their

                unlawful conduct;

            e. Plaintiff be awarded prejudgment interest; and

            f. Plaintiff be awarded such other and further relief as the Court

                deems just and proper.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury of all issues so triable.

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DATED: September 1, 2020             Respectfully submitted,


                                     /s/Joel B. Rothman
                                     JOEL B. ROTHMAN
                                     Georgia Bar Number: 979716
                                     joel.rothman@sriplaw.com

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                                     Attorneys for Plaintiff Bryan Zack Mason




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